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                                       UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF VIRGINIA

                                                (Alexandria Division)


MONA LISA BERRY,                                              )
                                                              )
          Plaintiff,                                          )
                                                              )
v.                                                            ) Case No. #1:16-cv-897 (TSE/MSN)
                                                              )
TARGET CORPORATION, et al.,                                   )
                                                              )
          Defendants.                                         )



                                                    PRAECIPE

          The clerk will please submit the attached consent order for dismissal to the court for

entry.

                                                      Respectfully submitted,

                                                      MONA LISA BERRY,

                                                      By counsel

Dated: November 1, 2016

Counsel for Plaintiff:



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BerryMona\Pleadings\Pcp-ConsentDismissalOrder
/s/ Matthew T. Sutter
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                                      Certificate of Service

        I, Victor M. Glasberg, hereby certify that on this 1st day of November 2016, I
electronically filed the foregoing Praecipe with the clerk of the court.




                                                               //s// Victor M. Glasberg
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